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|'E!:¢{J -\_.'. E; ij \;`i.EH-P‘ .
Plaintirf, ` "" HTS
vs cR. No. 05-20160-3

PH|LL|P STAFFORD

Defendant.

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ORDER ON JURY VERD|CT

 

This cause came on for trial on August 1, 2005, the United States Attorney for this District,
Scott Leary, representing the Government, and the defendant, Phillip Stafford, appearing in person
and with counsel, Randy Alden.

Jurors were selected and sworn. After listening to opening statements, all of the proof, closing
arguments and jury charge, the jurors were excused to begin deliberation

After due deliberation, the jury returned in open court on August 4, 2005, and announced a
verdict of GU|LTV as to Counts 7,8 & 9 of the lndictment. The jury was unable to reach a unanimous
verdict as to counts 1-6 of the indictment Therefore as to these counts, the Court declared a mistria|.

Jurors were polled individually

The SENTENCING HEAR|NG is SET on Thursday, November 3, 2005 at 1:30 p.m.
in Courtroom Number 1, on the 111h Floor, before Judge J. Daniel Breen.

Defendant was remanded to the custody of the U.S. Marsha|.

ENTERED this the §§ day ofAugust, 2005.

 

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UNIT§D STAT§S DISTRICT COURT- W"T§§S §N DISTRICT OF T§NN§SS§§

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:05-CR-20160 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

Randolph W. Alden

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Scott F. Leary

U.S. ATTORN§Y'S OFFIC§
167 N. Main St.

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Honorable J. Breen
US DISTRICT COURT

